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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

W.R. GRACE & CO., et al.,' Case No. 01-01139 (KF)
(Jointly Administered)
Debtors. Objection Deadline: March 3, 2003 at 4:00 p.m.
Hearing Date: June 17, 2003 at 12:00 p.m.

SUMMARY OF THE SEVENTH INTERIM QUARTERLY
APPLICATION OF REED SMITH LLP FOR COMPENSATION FOR
SERVICES AND REIMBURSEMENT OF EXPENSES AS SPECIAL ASBESTOS
PRODUCTS LIABILITY DEFENSE COUNSEL TO W. R. GRACE & CO., ET AL., FOR
THE INTERIM PERIOD FROM OCTOBER 1, 2002 THROUGH DECEMBER 31, 2002

Name of Applicant: Reed Smith LLP

Authorized to Provide Professional Services to: W. R. Grace & Co.. et al., Debtors and
Debtors-in-Possession

Date of Retention: Retention Order entered July 19. 2001,
effective as of April 2, 2001.

Period for which compensation and October 1, 2002 through December 31, 2002
reimbursement is sought:

Amount of Compensation sought as actual, $325,159.25
reasonable, and necessary:

Thisis a: monthly x quarterly application.

The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn., A-1 Bit
& Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc.,
Coalgrace, Inc.,Coalgrace IL, Inc., Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (fk/a
Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C
Management, Inc..(f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling
Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services
Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R.
Grace Land Corporation, Gracoal, Inc., Gracoal Il, Inc.,.Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco
International, Inc., Kootenai Development Company, LB Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc.,
Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation),
MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street
Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

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November 27, 2001 | 10/1 - 10/31/01 $229,036.50 $10,314.97 Yes Yes
December 26, 2001 | 11/1 - 11/30/01 $216,703.50 $22,667.19 Yes Yes
January 30, 2002 12/1 - 12/31/01 $152,288.00 $43,025.11 Yes Yes
March 1, 2002 1/1 — 1/31/02 $152,389.50 $45,525.87 Yes Yes
March 28, 2002 2/1 — 2/28/02 $115,694.50 $39,388.59 Yes Yes
May 2, 2002 3/1 — 3/31/02 $95,617.50 $49,224.63 Yes Yes
May 28, 2002 4/1 — 4/30/02 $125,169.50 $44,498.12 Yes Yes
July 1, 2002 5/1 — 5/31/02 $186,811.50 $88,641.73 Yes Yes
August 6, 2002 6/1 — 6/30/02 $167,414.75 $26,462.86 Yes ’ Yes
September 9, 2002 TA — 7/31/02 $113,523.25 $7,897.17 Yes Yes
October 1, 2002 8/1 — 8/31/02 $183,876.75 $18,631.51 Yes Yes
November 1, 2002 9/1 — 9/30/02 $205,975.00 $12,810.65 Yes Yes
November 29 , 2002 | 10/1 ~ 10/31/02 $172,838.75 $34,384.69 Yes Yes
December 30, 2002 | 11/1 — 11/30/02 $115,576.00 $12,630.85 Yes Yes
January 31, 2003 12/1 — 12/31/02 $36,744.50 $16,310.05 Pending Pending

With the exception of the Application for December 2002, Reed Smith has filed certificates
of no objection with the Court with respect to the above Monthly Applications because no objections
were filed with the Court within the objection period. The objection deadline for the Monthly
Application for fees and expenses incurred from December 1, 2002 through December 31, 2002 has

not yet passed.
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The Reed Smith attorneys who rendered professional services in these cases during the Fee
2

Period are:

James J. Restivo, Jr. Partner 31 Years Litigation $430.00 35.70 $15,351.00
Lawrence E. Flatley Partner 27 Years Litigation $400.00 11.50 $4,600.00
Douglas E. Cameron Partner 18 Years Litigation $385.00 108.00 $41,580.00
James W. Bentz Partner 14 Years Litigation $300.00 186.60 $55,980.00
Traci Sands Rea Partner 8 Years Litigation $265.00 12.20 $3,233.00
Richard Keuler Associate 3 Years Litigation $240.00 7.00 $1,680.00
Rosa C. Miller Associate 8 Years Litigation $195.00 55.30 $10,783.50
Andrew J. Muha Associate 2 Years New Assoc. $185.00 61.60 $11,396.00

The paraprofessionals who rendered professional service in these cases during the Fee Period are:

ee ee

M. Susan Haines Paralegal 28 Years Litigation $150.00 3.20 $475.50

Maureen L. Atkinson Paralegal 26 Yeats Litigation $120.00 | 167.20 $20,064.00

Christine H. Turkaly Paralegal 12 Years Litigation $75.00 49.50 $3,605.00

John B. Lord Paralegal 10 Years Litigation $145.00 31.20 $4,524.00

Bruce Campbell Parapro- 14 Years Litigation $75.00 277.00 $16,775.00
fessional

Eric Gompers Parapro- 2 Years Litigation $75.00 256.50 $19.237.50
fessional

Andrew Kennedy Parapro- 4 Years Litigation $75.00 270.40 $16,280.00
fessional

Caroline Nath Parapro- 1 Year Litigation $75.00 277.50 $20,812.50
fessional

2 Any capitalized terms not defined herein have the meaning ascribed to them in the Seventh Interim Quarterly Application of Reed Smith LLP for
Compensation for Services and Reimbursement of Expenses as Special Asbestos Products Liability Defense Counsel to W. R. Grace & Co., et al., for
the Interim Period from October 1, 2002 through December 30, 2002.
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Jamie Paulen Parapro- To take Litigation $75.00 257.50 $19,312.50

fessional bar
2/2003

Ryan Peterson Parapro- 1 Year Litigation $75.00 260.00 $19,500.00
fessional

Anana Rice Parapro- 2 Years Litigation $75.00 205.75 $15,431.25
fessional

Joan Turner Parapro- 18 Years Litigation $75.00 170.50 $12,787.50
fessional

Total Fees: $325,159.25

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EXPENSE SUMMARY
Description Litigation and Litigation ZAI Science Trial
Consulting
Telephone Expense $47.46 $18.83
Telephone Expense - Outside $36.35 $82.95
Duplicating/Printing $1,084.90 $468.50
Outside Duplicating $2,347.78 $46,496.52
Postage Expense $31.61 $17.28
Express Mail $46.13 --
Courier Service $893.18 $80.19
Documentation Charge $338.20 --
Secretarial Overtime -- $6,615.00
Transportation -- $12.00
Air Travel Expense $1,008.00 $630.00
Taxi Expense $32.00 $59.00
Mileage Expense $37.90 $51.10
Meal Expense $360.26 $224.37
Lodging $168.46
Westlaw -- $1,847.33
SUBTOTAL $6,722.52 $56,603.07
TOTAL

$63,325.59

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Summary of Reed Smith LLP Hours/Fees for Seventh Interim Quarterly Fee Application

(October 1, 2002-December 31, 2002)

Category Quarterly Hours | Quarterly Dollar Cumulative Cumulative
Value Hours Dollar Value
7th Quarterly 7th Quarterly
Asbestos
Product Liability 111.60 $31,067.00 9,173.85 $1,926,043.00
Defense Counsel
(Litigation and
Litigation
Consulting)
Travel—Non-
Working (1/2 0.00 $0.00 85.65 $17,667.75
Time)
Fee
Applications— 62.50 $10,623.00 238.70 $47,120.00
Applicant
Case
Administration 0.00 $0.00 1.00 $430.00
Claim Analysis,
Objection & 0.00 $0.00 146.40 $46,419.50
Resolution
(Asbestos)
ZAI Science
Trial Fees 2,554.25 $279,507.25 4,373.40 $494,999.75
Employment
Applications— 0.00 $0.00 16.40 $4,890.00
Applicant
Hearings
9.90 $3,962.00 91.40 $33,830.00
Expenses
N/A $6,722.52 N/A $421,280.44
ZAI Science
Trial Expenses N/A $56,603.07 N/A $62,510.24

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W. R. GRACE & CO., et al.,! ) Case No. 01-01139 (JKF)
) (Gointly Administered)
)
Debtors. )
) Objection Deadline: March 3, 2003 at 4:00 p.m.
) Hearing Date: June 17, 2003 at 12:00 p.m.

SEVENTH INTERIM QUARTERLY APPLICATION OF REED SMITH LLP FOR
COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES AS
SPECIAL ASBESTOS PRODUCTS LIABILITY DEFENSE COUNSEL
TO W. R. GRACE & CO., ET AL., FOR THE INTERIM PERIOD
FROM OCTOBER 1, 2002 THROUGH DECEMBER 31, 2002

Pursuant to Sections 327, 330 and 331 of Title 11 of the United States Code (as
amended, the “Bankruptcy Code”), Fed. R. Bankr. P. 2016, the Retention Order (as defined below),

the Administrative Order Under 11 U.S.C. §§ 105(a) and 331 Establishing Procedures for Interim

' The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R.
Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun
Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I,
Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc.,
GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace
Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace
Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace
International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR
Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace
Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc.,
Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a
Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a
British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C
Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial
Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coal Company, H-G Coal
Company.
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Compensation and Reimbursement of Professionals and Official Committee Members (the “Interim
Compensation Order’), the Amended Administrative Order Under 11 U.S.C. §§1059(a) and 331
Establishing Procedures for Interim Compensation and Reimbursement of Professionals and Official
Committee Members (the ““Amended Interim Compensation Order” and collectively with the Interim
Compensation Order, the “Compensation Order”) and Del-Bankr.LR 2016-2, the law firm of Reed
Smith LLP (“Applicant” or "Reed Smith"), Special Asbestos Products Liability Defense Counsel for
the above-captioned debtors and debtors in possession (collectively, the “Debtors”) in their chapter
11 cases, hereby applies for an order allowing it (i) compensation in the amount of $325,159.25 for
the reasonable and necessary legal services Reed Smith has rendered to the Debtors and (ii)
reimbursement for the actual and necessary expenses that Reed Smith has incurred in the amount of
$63,325.59 (the “Seventh Interim Quarterly Fee Application”), for the interim quarterly period from
October 1, 2002, through December 31, 2002 (the “Fee Period”). In support of this Application,
Reed Smith respectfully states as follows:

Background

Retention of Reed Smith

1. On April 2, 2001 (the “Petition Date”), the Debtors each filed voluntary
petitions for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”).
On April 2, 2001, the Court entered an order procedurally consolidating the Chapter 11 Cases for
administrative purposes only. Since the Petition Date, the Debtors have continued to operate their

businesses and manage their properties as debtors in possession pursuant to Sections 1107(a) and

1108 of the Bankruptcy Code.
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2. By this Court’s order dated July 19, 2001, the Debtors were authorized to
retain Reed Smith as Special Asbestos Products Liability Defense Counsel, effective as of the
Petition Date (the “Retention Order”). The Retention Order authorizes the Debtors to compensate
Reed Smith at Reed Smith's hourly rates charged for services of this type and to be reimbursed for
actual and necessary out-of-pocket expenses that it incurred, subject to application to this Court in
accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, all applicable
local rules and orders of this Court. On May 3, 2001, this Court entered the Interim Compensation
Order and entered the Amended Interim Compensation Order on April 17, 2002 (“Compensation
Order’).

Monthly Interim Fee Applications Covered Herein

3. Pursuant to the procedures set forth in the Compensation Order, professionals
may apply for monthly compensation and reimbursement (each such application, a “Monthly Fee
Application”) subject to any objections lodged by the Notice Parties provided in the Compensation
Order. If no objection is filed to a Monthly Fee Application within twenty (20) days after the date
of service of the Monthly Fee Application, the applicable professional may submit to the Court a
certification of no objection whereupon the Debtors are authorized to pay interim compensation and
reimbursement of 80% of the fees and 100% of the expenses requested.

4. Furthermore, and also pursuant to the Compensation Order, professionals are
to file and serve upon the notice parties a quarterly request (a “Quarterly Fee Application”) for
interim Court approval and allowance of the Monthly Fee Applications filed during the quarter
covered by that Quarterly Fee Application. Ifthe Court grants the relief requested by the Quarterly

Fee Application, the Debtors are authorized and directed to pay the professional 100% of the fees

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and expenses requested in the Monthly Fee Applications covered by that Quarterly Fee Application
less any amounts previously paid in connection with the Monthly Fee Applications. Any payment
made pursuant to the Monthly Fee Applications or a Quarterly Fee Application is subject to final
approval of all fees and expenses at a hearing on the professional’s final fee application.

5. This is the Seventh Interim Quarterly Fee Application for compensation for
services rendered that Reed Smith has filed with the Bankruptcy Court in connection with the
Chapter 11 cases.

6. Reed Smith has filed the following Monthly Fee Applications for interim
compensation during this Fee Period:

1. Application of Reed Smith LLP for Compensation for Services and
Reimbursement of Expenses as Special Asbestos Products Liability
Defense Counsel to Debtors, for the Sixteenth Monthly Interim
Period From October 1, 2002 Through October 31, 2002, filed
November 29, 2002, (the “October Fee Application”) attached hereto
as Exhibit A.

2. Application of Reed Smith LLP for Compensation for Services and
Reimbursement of Expenses as Special Asbestos Products Liability
Defense Counsel to Debtors, for the Seventeenth Monthly Interim
Period From November 1, 2002 Through November 30, 2002, filed
December 30, 2002, (the “November Fee Application”) attached
hereto as Exhibit B.

3. Application of Reed Smith LLP for Compensation for Services and
Reimbursement of Expenses as Special Asbestos Products Liability
Defense Counsel to Debtors, for the Eighteenth Monthly Interim
Period From December 1, 2002 Through December 31, 2001, filed
January 31, 2003, (the “December Fee Application”) attached hereto
as Exhibit C (collectively, the October Application, the November
Application and the December Application are the “Applications”).

7. The periods for objecting to the fees and expense reimbursement requested

in the October and November Fee Applications passed without any objections being filed,

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whereupon the Reed Smith filed certificates of no objection with the Court and paid interim
compensation and reimbursement of 80% of the fees and 1 00% of the expenses requested in the
October and November Fee Applications. The period for objecting to the fees and expense
reimbursement requested in the December Fee Application has not yet expired.

8. During the Fee Period, Reed Smith has advised and represented the Debtors
in connection with the Asbestos Products Liability Actions and has performed various professional
services that are described in the Applications.

Requested Relief

9. By this Seventh Interim Quarterly Fee Application, Reed Smith requests that
the Court approve the interim allowance of compensation for professional services rendered and the
reimbursement of actual and necessary expenses incurred by Reed Smith for the Fee Period as
detailed in the Applications, less any amounts previously paid to Reed Smith pursuant to the
Applications and the procedures set forth in the Compensation Order.” As stated above, the full
scope of services provided and the related expenses incurred are fully described in the Applications,
which are attached hereto as Exhibits A through C.

Disinterestedness

10. As disclosed in the Affidavit of James J. Restivo, Jr. in Support of the
Application of the Debtors to employ Reed Smith LLP as Special Defense Counsel for the Debtors
in Asbestos Product Liability Actions, (the "Restivo Affidavit"), filed July 2, 2001, Reed Smith does

not hold or represent any interest adverse to the estates, and is a disinterested person as that term is

2 Reed Smith reserves the right to seek at a later date compensation for services rendered and reimbursement for
expenses incurred during the Fee Period that are not otherwise included in the relevant Applications.

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defined in section 101(14) of the Bankruptcy Code as modified by section 1107(b) of the Bankruptcy
Code.

11. Reed Smith may have in the past represented, may currently represent, and
likely in the future will represent parties-in-interest in connection with matters unrelated to the
Debtors and the Chapter 11 Cases. Reed Smith disclosed in the Restivo Affidavit its connections
to parties-in-interest that it has been able to ascertain using its reasonable efforts. Reed Smith will
update the Restivo Affidavit when necessary and when Reed Smith becomes aware of any material
new information.

Representations

12. Reed Smith believes that the Application is in compliance with the
requirements of Del.Bankr.LR 2016-2.

13. Reed Smith performed the services for which it is seeking compensation on
behalf of or for the Debtors and their estates, and not on behalf of any committee, creditor or other
person.

14. During the Fee Period, Reed Smith has received no payment, nor has it
received any promises for payment, from any source for services rendered or to be rendered in any
capacity whatsoever in connection with these Chapter 11 cases.

15. Pursuant to Fed. R. Bank. P. 2016(b), Reed Smith has not shared, nor has
agreed to share, (a) any compensation it has received or may receive with another party or person
other than with the partners, counsel and associates of Reed Smith, or (b) any compensation another

person or party has received or may receive in connection with the Chapter 11 cases.
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16. Although every effort has been made to include all fees and expenses from
the Fee Period in the Applications, some fees and expenses from the Fee Period might not be
included in the Applications due to accounting and processing delays. Reed Smith reserves the right
to make further application to the Court for allowance of fees and expenses for the Fee Period not
included herein.

WHEREFORE, Reed Smith respectfully requests that the Court enter an order,
substantially in the form attached hereto, providing (a) that, for the Fee Period, an administrative
allowance be made to Reed Smith (i) in the sum of $325,159.25 as compensation for reasonable and
necessary professional services rendered to the Debtors and (ii) in the sum of $63,325.59 for
reimbursement of actual and necessary costs and expenses incurred (for a total of $388,484.84),
(b) that the Debtors be authorized and directed to pay to Reed Smith the outstanding amount of such
sums less any sums previously paid to Reed Smith pursuant to the Applications and the procedures
set forth in the Compensation Order and (c) that this Court grant such further relief as is equitable
and just.

Wilmington, Delaware Respectfully submitted,

Dated: February 10, 2003
REED SMITH LLP
/s/ Richard A. Keuler, Jr.
Richard A. Keuler, Jr., Esquire (No. 4108)
1201 Market Street, Suite 1500
Wilmington, DE 19801
Telephone: (302) 778-7500

Facsimile: (302) 778-7575
Rkeuler@reedsmith.com

and
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- James J. Restivo, Jr.
Lawrence E. Flatley
Douglas E. Cameron
435 Sixth Avenue
Pittsburgh, PA 15219
Telephone: (412) 288-3131
Facsimile: (412) 288-3063

Special Asbestos Products Liability Defense Counsel
